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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                     Chapter 7

SIZMEK INC., et al,1                                       Case No. 19-10971 (DSJ)

                       Debtors.                            (Joint Administered)


NITEL, INC.,                                               Adv. Proc. No. 21-01160-dsj

                       Plaintiff,
v.

CERBERUS BUSINESS FINANCE, LLC, and
PEPI CAPITAL, L.P.,

                       Defendants.

                       CERTIFICATE OF SERVICE
     OF SUMMONS AND NOTICE OF PRE-TRIAL CONFERENCE AND COMPLAINT
                            WITH EXHIBITS
                       [RELATED TO DOC 1 AND 5]

         The undersigned hereby certifies that on June 11, 2021, a copy of the Summons and

Notice of Pre-Trial Conference [Doc. No. 5] (the “Summons”), issued the same date and

attached hereto, along with a copy of the Complaint [Doc No. 1] (the “Complaint”), with all

Exhibits, filed by Creditor, Nitel, Inc. was served by U.S. Regular Mail, postage prepaid, upon

Cerberus Business Finance, LLC at the regular mail address listed below:

Cerberus Business Finance, LLC
C/O Corporation Trust Company, its registered agent
Attn: Officer, Managing Agent, or General Agent
CORPORATION TRUST CENTER
1209 Orange St
Wilmington, DE 19801




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Dated: June 11, 2021              ICE MILLER LLP


                                   /s/ Jason M. Torf
                                  Jason M Torf (pro hac vice pending)
                                  200 W. Madison Street, Suite 3500
                                  Chicago, IL 60606
                                  Telephone: (312) 726-6244
                                  Fax: (312) 726-6214
                                  Email: Jason.Torf@icemiller.com

                                  John C. Cannizzaro (pro hac vice pending)
                                  250 West Street, Suite 700
                                  Columbus, OH 43215
                                  Telephone: (614) 462-1070
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                                  Email: John.Cannizzaro@icemiller.com




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                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Sizmek Inc.                                                                Bankruptcy Case No.: 19−10971−dsj

Nitel, Inc.
                                                     Plaintiff(s),
−against−                                                                   Adversary Proceeding No. 21−01160−dsj
Cerberus Business Finance, LLC
PEPI CAPITAL, L.P.
                                                    Defendant(s)

                     SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                           IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        One Bowling Green
                                                        New York, NY 10004−1408
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                              Jason M. Torf
                                                              Ice Miller LLP
                                                              200 W. Madison Street
                                                              Suite 3500
                                                              Chicago, IL 60606
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
                                                                 Room: Register at www.court−solutions.com,
United States Bankruptcy Court                                   Dial: (646)760−4600 five mins before hrg,
Southern District of New York                                    DSJ Teleconference Line
One Bowling Green
New York, NY 10004−1408                                          Date and Time: 7/29/21 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 6/11/21                                             Vito Genna

                                                           Clerk of the Court

                                                           By: /s/ Carmen Ortiz

                                                           Deputy Clerk
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Jason M. Torf                                              John C. Cannizzaro
ICE MILLER LLP                                             ICE MILLER LLP
200 W. Madison Street, Suite 3500                          250 West Street, Suite 700
Chicago, IL 60606                                          Columbus, OH 43215
Telephone: (312) 726-6244                                  Telephone: (614) 462-1070
Fax: (312) 726-6214                                        Fax: (614) 232-6923

Counsel for Plaintiff

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                                 Chapter 7

    SIZMEK INC., et al,1                                                   Case No. 19-10971 (DSJ)

                             Debtors.                                      (Joint Administered)


    NITEL, INC.,                                                           Adv. Proc. No. _________________

                             Plaintiff,
    v.

    CERBERUS BUSINESS FINANCE, LLC, and
    PEPI CAPITAL, L.P.,

                             Defendants.


                                                 COMPLAINT

             Plaintiff Nitel, Inc. (“Nitel”), by and through its undersigned counsel, for its complaint

against defendant Cerberus Business Finance, LLC (“Cerberus”) and PEPI Capital, L.P. (“PEPI

Capital”, and together with Cerberus, the “Secured Lenders”), hereby alleges as follows:




1
  Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies, Inc. (6402);
Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106); and X Plus Two
Solutions, LLC (4914).


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                                                PARTIES

        1.         Nitel is an Illinois corporation headquartered in Chicago, Illinois.

        2.         Cerberus is a Delaware limited liability company headquartered in New York, New

York.

        3.         PEPI Capital is a Delaware limited partnership headquartered in Dallas, Texas.

                                    JURISDICTION AND VENUE

        4.         This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

Southern District of New York, dated February 1, 2012.

        5.         Plaintiff consents, pursuant to Rule 7008 of the Federal Rules of Bankruptcy

Procedure, to the entry of a final order by the Bankruptcy Court in connection with this adversary

proceeding to the extent that it is later determined that the Bankruptcy Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

        6.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            BACKGROUND

        7.         Nitel was the sublessee of approximately 32,115 rentable square feet of space

located on the 13th Floor, described as Suite 1300N or Suite 1300, of 350 North Orleans Street,

Chicago, Illinois (the “Subleased Premises”) pursuant to a sublease (the “Sublease”) between Nitel

and Sizmek DSP, Inc. (“Debtor”), as successor-in-interest to Rocket Fuel Inc. (“Rocket Fuel”). A

true and correct copy of the Sublease is attached hereto as Exhibit A.

        8.         BRE River North Point Owner LLC (the “Master Landlord”), as successor-in-

interest to SRI Ten West Mart LLC, was the landlord for the Subleased Premises pursuant to a




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lease dated February 19, 2014, as amended, between Master Landlord and Debtor, as successor-

in-interest to Rocket Fuel (the “Master Lease”).

          9.       Debtor, as successor-in-interest to Rocket Fuel, Master Landlord, and Nitel are

parties to a Landlord Consent to Sublease dated December 19, 2016 (the “Consent”, and together

with the Sublease and all documents relating or pertaining to Nitel’s occupancy of the Subleased

Premises, whether or not attached hereto, the “Sublease Documents”), which addresses the parties’

rights with respect to the Sublease and the Master Lease. A true and correct copy of the Consent

is attached hereto as Exhibit B.

          10.      Pursuant to the terms of the Sublease, Nitel provided to Rocket Fuel, Debtor’s

predecessor-in-interest, a security deposit in the amount of $271,092.87 (the “Security Deposit”).

The Security Deposit was subsequently transferred to Debtor to hold for Nitel’s benefit as required

by the terms of the Sublease and applicable Illinois law.

          11.      Cerberus is purportedly the administrative agent and collateral agent for itself and

PEPI Capital under a Financing Agreement dated September 6, 2017, for certain revolving and

term loans that were purportedly secured by first-priority liens on substantially all the Debtor’s

assets.

          12.      On or about March 25, 2019, the Secured Lenders swept all cash from the Debtor’s

accounts. See Declaration of Sascha Wittler, Chief Financial Officer of Sizmek Inc., (I) In Support

of Chapter 11 Petitions and (II) Pursuant to Local Rule 1007-2 (Doc. No. 13, Case No. 19-10971).

          13.      Upon information and belief, when the Secured Lenders swept the Debtor’s

accounts, they caused some or all of the Security Deposit to be transferred from the Debtor to the

Secured Lenders.




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        14.        On March 29, 2019 (the “Petition Date”), the Debtor filed its petition for relief

under chapter 11 of the Bankruptcy Code.

        15.        Pursuant to the Sixth Notice of Rejection of Certain Executory Contracts and

Unexpired Leases (Doc. 287), Debtor rejected the Lease and Sublease effective June 27, 2019.

        16.        Under applicable Illinois law, the Security Deposit was held in trust by the Debtor

for the benefit of Nitel.

        17.        Because the Security Deposit was held in trust, it was not the Debtor’s property,

not subject to any security interest asserted against Debtor’s property, and not the Secured Lenders’

collateral.

                                      COUNT I: CONVERSION

        18.        Plaintiff incorporates by reference paragraphs 1 through 17 of this Complaint as

though fully set forth below.

        19.        When the Secured Lenders swept the Debtor’s accounts, they wrongfully and

without authorization took control over the Security Deposit.

        20.        Nitel has rights in the Security Deposit by virtue of its rights under the Sublease

Documents.

        21.        Nitel has an immediate right to possession of the Security Deposit under the

Sublease Documents and applicable Illinois law.

        22.        On or about December 2019, Nitel demanded the return of the Security Deposit

from Debtor. At that time, Debtor indicated that the Secured Lenders were in possession of the

Security Deposit, having swept the account in which the Security Deposit was held.

        23.        On March 29, 2021, Nitel demanded the return of the Security Deposit from the

Secured Lenders. A true and correct copy of Nitel’s demand letter is attached hereto and




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incorporated herein as Exhibit C. As of the date of this Complaint, Secured Lenders have failed

to return the Security Deposit to Nitel.

        24.        By virtue of the above, the Secured Lenders have converted Nitel’s Security

Deposit, and as a direct and proximate result of such conversion, caused damages to Nitel in the

sum of $271,092.87 plus attorney’s fees and costs incurred in seeking the return of the Security

Deposit.

                               COUNT II: UNJUST ENRICHMENT

        25.        Plaintiff incorporates by reference paragraphs 1 through 24 of this Complaint as

though fully set forth below.

        26.        When the Secured Lenders swept the Debtor’s accounts, they took possession,

custody, and control of the Security Deposit, which was not Debtor’s property and was not the

Secured Lenders’ collateral.

        27.        The Secured Lenders’ seizure of the Security Deposit was to Nitel’s detriment

because such seizure prevented Nitel from recovering the Security Deposit from the Debtor as was

its right.

        28.        Permitting the Secured Lenders to retain possession of the Security Deposit would

be a windfall to the Secured Lenders and violates fundamental principles of justice, equity, and

good conscience.

        29.        To remedy such unjust enrichment, the Secured Lenders should be required to

immediately turnover the entire $271,092.87 Security Deposit to Nitel.

                                       PRAYER FOR RELIEF

        Wherefore, Plaintiff respectfully prays that this Court grant Nitel the following relief:

        a.         Damages for the Secured Lenders’ conversion and/or unjust enrichment in the
                   amount of $271,092.87;



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        b.         Nitel’s reasonable attorney’s fees, costs, and expenses incurred in seeking a return
                   of the Security Deposit;

        c.         Pre- and post-judgment interest as permitted by law; and

        d.         Such other relief as the Court deems just and proper.



                                                         ICE MILLER LLP

                                                         /s/ Jason M. Torf
                                                         Jason M. Torf (pro hac vice pending)
                                                         200 W. Madison Street, Suite 3500
                                                         Chicago, IL 60606
                                                         Telephone: (312) 726-6244
                                                         Fax: (312) 726-6214
                                                         Email: Jason.Torf@icemiller.com

                                                         John C. Cannizzaro (pro hac vice pending)
                                                         250 West Street, Suite 700
                                                         Columbus, OH 43215
                                                         Telephone: (614) 462-1070
                                                         Fax: (614) 232-6923
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                                                                          WRITER’S DIRECT NUMBER: (312) 726-6244
March 29, 2021                                                                         DIRECT FAX: (312) 726-6214
                                                                                 EMAIL: Jason.Torf@icemiller.com




VIA E-MAIL and OVERNIGHT DELIVERY

Ariella Thal Simonds (asimonds@ktbslaw.com)
Thomas E. Patterson (tpatterson@ktbslaw.com)
KTBS LAW LLP
1801 Century Park East, 26th Floor
Los Angeles, California 90067

        Re:        In re Sizmek, Inc., et al., Case No. 19-10971 (Bankr. S.D.N.Y.)

                   Demand for Return of $271,092.87 Security Deposit Previously Held in Trust
                   by Debtor Sizmek DSP Inc. for the Benefit of Nitel, Inc.

Dear Ms. Simonds and Mr. Patterson:

        This firm represents Nitel, Inc. (“Nitel”) with respect to the above-referenced jointly
administered bankruptcy cases, which includes a case filed by debtor Sizmek DSP, Inc. (the
“Debtor”). It is our understanding that your firm represents Cerberus Business Finance, LLC, as
administrative agent and collateral agent for secured lenders Cerberus Business Finance, LLC and
PEPI Capital, L.P. (collectively the “Secured Lenders”). Nitel was the sublessee of approximately
32,115 rentable square feet of space located on the 13th Floor, described as Suite 1300N or Suite
1300, of 350 North Orleans Street, Chicago, Illinois (the “Subleased Premises”) pursuant to a
sublease (the “Sublease”) between Nitel and the Debtor. Prior to its bankruptcy filing, the Debtor
held a security deposit of $271,092.87 in trust for the benefit of Nitel (the “Security Deposit”).

        Under the terms of the Sublease, Nitel is entitled to the return of its full Security Deposit.
It is our understanding that the Secured Lenders swept all cash from the Debtor’s accounts on or
about March 25, 2019, including the Security Deposit. The Security Deposit was not property of
the Debtor and was not the Secured Lenders’ collateral. Accordingly, the Secured Lenders’
exercise of control over the Security Deposit constitutes conversion of Nitel’s property under
applicable Illinois law.

       Demand is hereby made for return of the Security Deposit in full. Payment should be made via
check payable to Nitel, Inc. and should be sent to the following address:

                                            Jason M. Torf
                                           Ice Miller LLP
                                         200 W. Madison St.
                                              Suite 3500
                                       Chicago, IL 60606-3417



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Ariella Thal Simonds
Thomas E. Patterson
March 29, 2021
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      If the Secured Lenders have not returned the Security Deposit in full by April 5, 2021, Nitel will
commence legal action for return of the Security Deposit.

        Please let me know if you have any questions or would like to discuss this matter.


                                                 Very truly yours,




                                                 Jason M. Torf

cc:     John C. Cannizzaro
